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                  EXHIBIT 17
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1                       UNITED STATES DISTRICT COURT

2                   FOR THE WESTERN DISTRICT OF NEW YORK

3     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

4     BLACK LOVE RESISTS IN THE RUST, et al.,

5     individually and on behalf of a class of

6     all others similarly situated,

7                                         Plaintiffs,

8     vs.                                                  1:18-cv-00719-CCR

9     CITY OF BUFFALO, N.Y.,       et al.,

10                                        Defendants.

11    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

12                 ORAL EXAMINATION OF DANIELLE MORGERA

13                            APPEARING REMOTELY FROM

14                              BUFFALO, NEW YORK

15

16                            Thursday, May 26, 2022

17                            9:40 a.m. - 5:31 p.m.

18                              pursuant to notice

19

20

21    REPORTED BY:

22    Luanne K. Howe

23    APPEARING REMOTELY FROM CUYAHOGA COUNTY, OHIO
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1                    R E M O T E     A P P E A R A N C E S

2

3     APPEARING FOR THE PLAINTIFFS:

4           COVINGTON & BURLING LLP
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1       A     "High level" meaning?

2       Q     Just generally, what is BTVA's role?

3       A     We are by state law tasked with assisting the Buffalo

4             City Court in adjudicating noncriminal traffic

5             infractions.

6       Q     Okay.

7       A     We intake tickets.      We process them.      We schedule

8             traffic court.

9       Q     And so what types of tickets does BTVA administer

10            specifically?

11      A     Traffic infractions.

12      Q     Okay.    Does it handle any nonmoving violations?

13      A     No.

14      Q     What about jaywalking?

15      A     What about jaywalking?

16      Q     Does BTVA handle jaywalking tickets?

17      A     No.

18      Q     Okay.    And are there any traffic tickets that BTVA

19            does not handle?

20      A     Yes.    Anything that is stated by law that is not in

21            our purview, for example, DUIs.

22      Q     Okay.    And what geographic area does BTVA cover?

23      A     It would be the city of Buffalo.
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1       Q     Okay.    So I believe you mentioned earlier that BTVA

2             is under the oversight of the mayor's office; is that

3             right?

4       A     That's correct, by state legislation.

5       Q     Okay.    And what role does the mayor's office have in

6             overseeing the BTVA?

7                               MR. SHORT:   Form.

8       Q     You can answer.

9       A     I don't know.

10      Q     Okay.    So what -- on a day-to-day basis, what role

11            does the mayor's office have with respect to the

12            BTVA?

13                              MR. SHORT:   Form.

14      A     The mayor's office doesn't -- I don't talk to the

15            mayor on a day-to-day basis.

16      Q     Okay.    Do you -- do you or the executive director

17            report up to the mayor's office regularly about the

18            BTVA?

19      A     I do not.       I cannot opine on what his actions are.

20      Q     Okay.    When was the BTVA created?

21      A     I'm not quite sure when the legislation passed, but I

22            know that the office was opened July 1, 2015.

23      Q     Okay.    So BTVA was created by legislation; is that
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1             correct?

2                             MR. SHORT:   Form.

3       A     Yes.

4       Q     Do you remember who was involved in getting that

5             legislation passed?

6       A     I believe it was Crystal People-Stokes and Tim

7             Kennedy.

8       Q     And who are they?

9       A     They are our state representatives.

10      Q     Do you remember if the mayor's office had -- was

11            involved in passing that legislation?

12      A     I don't know.

13      Q     Does BTVA have a set of written policies?

14      A     I don't understand if you mean BTVA itself or --

15      Q     Yes.

16      A     Policies that are written -- as a civil servant,

17            we're subject to union policies.          Is that what you

18            mean?

19      Q     No.    I mean internal to the agency, how you do

20            things, how you do your job at the agency.

21      A     I understand.     Thank you.      Yes, there are internal

22            policies in the agency.

23      Q     Okay.    And are there written policies for traffic
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1             prosecutors?

2                             MR. SHORT:    Form.

3       A     Our traffic prosecutors write their own prosecution

4             policies.

5       Q     Okay.    Do you know if those are recorded somewhere?

6       A     I'm sorry.      I didn't understand what you said.

7             Recorded?

8       Q     Yeah, if they're written down somewhere.

9                              MR. SHORT:   Form.

10      A     Yes.

11      Q     Okay.    Where do revenues from BTVA go?

12                             MR. SHORT:   Form.

13      A     I believe they go into the general city fund.

14      Q     Is there a percentage that go to the State of New

15            York?

16      A     There is --

17                             MR. SHORT:   Form.

18      A     There's a portion that goes to -- that's distributed

19            to the State of New York.         There's not a percentage.

20            There is a portion.      They tell us what we owe them.

21      Q     Thank you for that correction.         So what -- how is

22            that portion determined?

23      A     By state law.
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1       Q     Okay.    And do you know, is it a set calculation, a

2             set number?

3       A     Unfortunately, it is not.         It's indicative to each

4             violation in itself.

5       Q     I see.    So depending on the violation, a certain

6             portion goes to the state; is that correct?

7       A     Correct.

8       Q     Before the BTVA, do you know what percentage or

9             portion of revenues from traffic violations went to

10            the state versus the City of Buffalo?

11                            MR. SHORT:   Form.

12      A     My understanding is that it all went to the state.

13      Q     Okay.    So BTVA allowed Buffalo to keep a higher

14            portion of revenue from traffic tickets issued in the

15            city, correct?

16                            MR. SHORT:   Form.

17      A     I don't understand that question.

18      Q     Sure.    So let me try that again.        After the creation

19            of BTVA, Buffalo was able to keep a higher percentage

20            of revenue from traffic tickets issued within the

21            city, correct?

22                            MR. SHORT:   Form.

23      A     That's too generalized for me to answer.
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1       Q     Okay.    So I want to talk a little more concretely

2             about how BTVA operates.      So let's say I'm driving

3             through the city of Buffalo.        A police officer pulls

4             me over and writes me a ticket for speeding.              What

5             happens next as far as the BTVA is involved?

6       A     The instructions on your ticket would indicate when

7             you needed to return it to the agency.             Upon receipt,

8             the clerks will intake the tickets, screen the

9             license, refer to our prosecutor's policy.             If he has

10            preapproved a reduced plea to a nonmoving based on

11            their license history and the nature of the charge, a

12            reduced offer to a non-points violation is usually

13            tendered.

14                  If it is something that the prosecutor has

15            flagged as a serious violation or habitual offender,

16            the clerks are not authorized to put forward his

17            offer on his behalf.      And instead they must come in

18            for a pretrial conference.

19                  If someone does not wish to take the plea, they

20            are scheduled for traffic court, where the officer is

21            called in, and the trial is held in front of a

22            judicial hearing officer, who makes the final

23            determination.
